Case 2:19-cv-01156-MWF-AS Document 60 Filed 11/14/19 Page 1 of 3 Page ID #:538




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  11                      UNITED STATES DISTRICT COURT
  12               FOR THE CENTRAL DISTRICT OF CALIFORNIA
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     PARAMOUNT PICTURES                   Case No. 2:19-cv-01156-MWF-ASx
  14 CORPORATION; COLUMBIA
     PICTURES INDUSTRIES, INC.;
  15 DISNEY ENTERPRISES, INC.;
     TWENTIETH CENTURY FOX                PERMANENT INJUNCTION
  16 FILM CORPORATION; WARNER
     BROS. ENTERTAINMENT INC.;
  17 UNIVERSAL CITY STUDIOS
     PRODUCTIONS LLLP;
  18 UNIVERSAL TELEVISION LLC;
     and UNIVERSAL CONTENT
  19 PRODUCTIONS LLC,
               Plaintiffs,
  20
          vs.
  21
     OMNIVERSE ONE WORLD
  22 TELEVISION, INC.; JASON M.
     DEMEO,
  23           Defendants.
  24
     AND RELATED THIRD-PARTY
  25 CLAIMS
  26
  27
  28

                                                               PERMANENT INJUNCTION
                                                                 2:19-CV-01156-MWF(AS)
Case 2:19-cv-01156-MWF-AS Document 60 Filed 11/14/19 Page 2 of 3 Page ID #:539




   1         Plaintiffs Paramount Pictures Corporation, Columbia Pictures Industries, Inc.,
   2 Disney Enterprises, Inc., Twentieth Century Fox Film Corporation, Warner Bros.
   3 Entertainment Inc., Universal City Studios Productions LLLP, Universal Television
   4 LLC, and Universal Content Productions LLC (collectively, “Plaintiffs”) are entitled
   5 to a Permanent Injunction against Defendants Omniverse One World Television,
   6 Inc. and Jason M. Demeo, and all of their officers, directors, agents, servants, and
   7 employees, and all persons in active concert or participation or in privity with any of
   8 them (collectively, “Defendants”).
   9         Defendants are hereby RESTRAINED and ENJOINED as follows:
  10         1.    The following definitions shall apply:
  11         (a)   “Omniverse service” shall refer to Defendants’ delivery, and/or the
  12 delivery by affiliates and/or third-parties at Defendants’ direction, of audio-visual
  13 copyrighted content to direct-to-consumer services, white label providers, affiliates,
  14 resellers, and end users, for streaming, copying, recording, storing, or any other use
  15 of such content, as well as all related hardware, software, middleware or services
  16 that Defendants marketed, promoted, sold, delivered, supported and/or utilized for
  17 this delivery, including but not limited to, those services marketed as “Powered by
  18 Omniverse,” Omniverse, OmniBox TV, and OmniGo.
  19         (b)   “Copyrighted Works” shall mean all copyrighted works (and any
  20 portions thereof) in which the Plaintiffs, individually or jointly, (or any parent,
  21 subsidiary, or affiliate of any of the Plaintiffs) owns or controls an exclusive right
  22 under the United States Copyright Act, 17 U.S.C. §§ 101 et seq.
  23         2.    Defendants shall not at any time on or after the entry of this Permanent
  24 Injunction:
  25         (a)   infringe, by any means, directly or indirectly, any exclusive rights
  26 under the Copyright Act in the Copyrighted Works.
  27         (b)   operate any website, system, software, or service that is substantially
  28 similar to the Omniverse service.
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                                                                         PERMANENT INJUNCTION
                                                                           2:19-CV-01156-MWF(AS)
Case 2:19-cv-01156-MWF-AS Document 60 Filed 11/14/19 Page 3 of 3 Page ID #:540




   1        (c)    directly or indirectly take any additional steps to release publicly,
   2 distribute, transfer, or give any source code, object code, other technology, domain
   3 names, trademarks, brands, assets or goodwill in any way related to the Omniverse
   4 service.
   5        3.     The Court retains jurisdiction to enforce the terms of this Permanent
   6 Injunction and the Parties’ Settlement Agreement.
   7        IT IS SO ORDERED.
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   9 DATED: November 14, 2019
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                                              Michael W. Fitzgerald
  12
                                              United States District Judge
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                                                             [PROPOSED] PERMANENT INJUNCTION
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